Case 3:22-cv-08991-JSC Document 217 Filed 06/14/23 Page 1 of 1 |

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CAND 435
(CAND Rev. 08/2018)

 

TRANSCRIPT ORDER

Please use one form per court reporter.

CJA counsel please use Forin C/A24
Please read instructions on next page.

COURT USE ONLY
DUE DATE:

 

 

ia. CONTACT PERSON FOR THIS ORDER

David Littlejohn

2a. CONTACT PHONE NUMBER

(202) 424-7508

&. CONTACT EMAIL ADDRESS
david@rockcreekdc.com

 

1b. ATTORNEY NAME (if different)

 

2b, ATTORNEY PHONE NUMBER

3. ATTORNEY EMAIL ADDRESS

 

 

ree

Ae SO PE aw FIRM NAME, IF APPLICABLE)

ers

1010 Wisconsin Ave, NW Suite 215

Washington, DC 20007

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX) (J FTR

Cathy Taylor

5. CASE NAME

|
120 Defendents Motion to Dismiss and 135 Palintiff's |
|

}

| 6. CASE NUMBER
3:22-cv-08991

 

7 APPEAL
(J NON-APPEAL

1 CRIMINAL
CIVIL

 

8. THIS TRANSCRIPT ORDER IS FOR:

1 In forma pauperis (NOTE: Court order for transcripts must be attached)
CJA: Do not use this form; use Form CJA24.

 

 

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a.  HEARING(S) (OR PORTIONS OF HEARINGS) i wh mc heseoe Oph tet wens onan iedy. c. DELIVERY TYPE (Choose one per line)
DATE JUDGE TYPE PORTION PDF TEXT/ASCII PAPER | CONDENSED | ECF ACCESS | ORDINARY | 14-Day | EXPEDITED | 3-DAY DAILY HOURLY | REALTIME
(initials) (e.g. CMC)| chestyrertonen winessertme) | mel ae poet eS ee | “ee mee ee

05/12/2023 JSC @ O Oo oO O O © O O © oO O
Oo O © Oo O Oo oO Oo Oo Oo oO O
O O QO O O Oo © Oo Oo Oo oO oO
O oO © Oo Oo Oo © Oo © Oo O O
Oo Oo Oo Oo Oo Oo Oo Oo Q Oo O O
Oo Oo © oO Oo oO oO Oo oO Oo Oo Oo

10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:

ORDER & CERTIFICATION (14. & 12.) By signing below, | certify that | will pay ges (deposit plus additional). | 12. DATE

11. SIGNATURE

Fe

   

o\A\23

 

 

 

Clear Form

 

 

 

Save as new PDF

 

 

 

 
